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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                 Criminal Case No. 2:14-cr-20599
           Plaintiff / Respondent,
                                                 Civil Case No. 2:18-cv-10019
 v.
                                                 HON. STEPHEN J. MURPHY, III
 D-8 JOSEPH ARSENAULT,

           Defendant / Petitioner.

                                     /

    OPINION AND ORDER GRANTING IN PART AND DENYING IN PART THE
  GOVERNMENT'S MOTION FOR ORDER FINDING WAIVER OF PRIVILEGE [576]

        In March 2016, Defendant pleaded guilty to conspiracy to commit wire and mail

fraud in violation of 18 U.S.C. § 1349. The Court then sentenced him to 121 months'

imprisonment. Defendant now moves to vacate his sentence, and argues, inter alia, that

his counsel were ineffective because they failed to make certain arguments and to

present certain evidence during sentencing despite Defendant's requests. In light of that

argument, the Government asks the Court to issue an order finding that Defendant waived

the attorney-client privilege so that Defendant's attorneys may respond to his allegations.

Defendant did not file a timely response to the Government's motion, E.D. Mich. LR

7.1(e), which the Court would typically construe as a concession. But, the Court will

address the merits here because Defendant is proceeding pro se and the issue at stake

is substantial.

        The attorney-client privilege protects certain communications between an attorney

and client. In re Lott, 424 F.3d 446, 452 (6th Cir. 2005). The privilege, however, is not

absolute. Fausek v. White, 965 F.2d 126, 129 (6th Cir. 1992). Generally, the privilege is



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waived by either: (a) voluntary disclosure of private communications, or (b) conduct that

implies a waiver. Lott, 424 F.3d at 452 (quoting In re Columbia/HCA Healthcare Corp.

Billing Practices Litig., 293 F.3d 289, 294 (6th Cir. 2002)). In habeas cases, conduct that

implies a waiver can be the assertion of ineffective assistance of counsel. Id. at 453. Such

waivers, however, are construed narrowly and should be limited to the extent necessary

to litigate a petitioner's claim. Id. Courts thus examine whether the petitioner injected into

litigation an issue that requires testimony from his attorney or testimony concerning the

reasonableness of his attorney's conduct. Id. (quoting Johnson v. Alabama, 256 F.3d

1156, 1178 (11th Cir. 2001)).

       Here, Defendant waived the attorney-client privilege only as to certain information.

In support of his motion to vacate sentence, Arsenault attached to a public filing several

emails between him and his attorneys. By publishing those previously private

communications, Arsenault waived any privilege attached to the emails. But Arsenault did

not waive the attorney-client privilege so totally that his attorneys can properly respond to

additional inquiries from the Government. Although Arsenault raised an ineffective

assistance of counsel claim, the nature of his particular claim does not require testimony

from his attorneys. Unlike claims that require analysis of an attorney's private advice—for

example, whether an attorney correctly advised on sentencing exposure—the claims here

can be evaluated based on counsels' sentencing memoranda and oral arguments.1




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  As Arsenault's arguments develop, however, it may become necessary to analyze his
private communications with his attorneys. If that happens, the Government may file a
renewed motion. But, the Court will expect a more thorough analysis of why speaking
with Arsenault's attorneys is necessary.


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      Additionally, the Government requested an extension to respond to Arsenault's

motion to vacate sentence. The justification for the extension was that the Government

needed time to gather information from Arsenault's attorneys. But since that information

is privileged, the Government need not collect it. The Court, however, will give the

Government a short extension so it can process the present order. This extension,

however, is the fourth, so no more will be granted barring extraordinary circumstances.

                                        ORDER

      WHEREFORE, it is hereby ORDERED that the Government's Motion for Order

Finding Waiver of Privilege [576] is GRANTED IN PART AND DENIED IN PART.

      IT IS FURTHER ORDERED that no later than June 8, 2018, the Government shall

file its response to Arsenault's motion to vacate sentence.

      SO ORDERED.

                                         s/ Stephen J. Murphy, III
                                         STEPHEN J. MURPHY, III
                                         United States District Judge
Dated: May 24, 2018

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on May 24, 2018, by electronic and/or ordinary mail.

                                         s/ David Parker
                                         Case Manager




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